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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     EDAG ENGINEERING GMBH,                             Case No. 21-cv-04736-EMC (TSH)
                                   8                    Petitioner,
                                                                                            DISCOVERY ORDER
                                   9             v.
                                                                                            Re: Dkt. No. 160
                                  10     BYTON NORTH AMERICA
                                         CORPORATION,
                                  11
                                                        Respondent.
                                  12
Northern District of California
 United States District Court




                                  13          Petitioner EDAG Engineering GmbH (“EDAG”) moves for sanctions, contending that

                                  14   Respondent BYTON North America Corporation (“BNA”) violated the Court’s discovery order at

                                  15   ECF No. 127. ECF No. 160. EDAG seeks the following relief:

                                  16                  1. Enter a Default Judgment for the pending Motion to Amend for
                                                      BNA and Byton Limited (“By-Limited”), each of them, jointly and
                                  17                  severely, for the total of the judgment of $30,231,689.48 (Doc. # 49),
                                                      pursuant to Rule 37(b)(2)(A)(vi)(Doc. # 71 & 72) for the failure to
                                  18                  comply with the order to turnover any and all ledgers, journal and
                                                      notes (#4, Doc.# 127) [RFP # 4].
                                  19
                                                      2. Enter a Default Judgment for the pending Motion to Amend that
                                  20                  BNA and By-Limited are the same and jointly and severally liable for
                                                      the judgment (Doc. # 49) pursuant Rule 37 (e)(2)(C) for the failure to
                                  21                  comply with “If electronically stored information that should have
                                                      been preserved in the anticipation or conduct of litigation is lost
                                  22                  because a party failed to take reasonable steps to preserve it, and it
                                                      cannot be restored or replaced through additional discovery, the court
                                  23                  . . .”
                                  24          The requested relief doesn’t make any sense as to BNA because Judge Chen already
                                  25   entered judgment against it when he confirmed the arbitration award. ECF No. 49. Because BNA
                                  26   is already liable for the full amount of the judgment, there is no purpose to entering a second and
                                  27   identical judgment against the same litigant. Judge Chen already “ORDERED, ADJUDGED,
                                  28   AND DECREED” that BNA is liable to EDAG for the full amount of the arbitration award, see
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                                   1   id., so that issue doesn’t need to be ordered, adjudged and decreed again.

                                   2          And the requested relief isn’t available against Byton Limited, BNA’s parent company.

                                   3   Rule 37(b)(2)(A)(vi) provides that if a party fails to obey a discovery order, one possible remedy

                                   4   is to enter a default judgment against the disobedient party. But Byton Limited isn’t a party to this

                                   5   lawsuit and it didn’t disobey a discovery order. The Court’s order was directed at the respondent

                                   6   in this action, BNA. Similarly, Rule 37(e)(2)(C) provides that if electronically stored information

                                   7   (“ESI”) is lost because a party failed to take reasonable steps to preserve it, and if the Court finds

                                   8   that the party acted with the intent to deprive another party of the ESI, the Court can dismiss the

                                   9   action or enter a default judgment. But the key word is “party,” and Byton Limited isn’t one. The

                                  10   Court understands that EDAG has a pending motion to amend the judgment to add Byton Limited

                                  11   as a party to it. See ECF No. 71. However, as of now, that motion has not yet been granted and

                                  12   Byton Limited has not been made a party to this proceeding.
Northern District of California
 United States District Court




                                  13          Accordingly, EDAG’s motion for sanctions is denied.

                                  14          IT IS SO ORDERED.

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                                  16   Dated: May 18, 2022

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                                                                                                      THOMAS S. HIXSON
                                  18                                                                  United States Magistrate Judge
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